Case: 1:19-cv-01343 Document #: 49 Filed: 06/07/19 Page 1 of 2 PagelD #:2219

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
POPSOCKETS LLC,
Case No. 19-cv-01343
Plaintiff,
Judge Gary Feinerman
V.

Magistrate Judge Sunil R. Harjani
3C BATTERYPACK STORE, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on April 30, 2019 [43], in favor
of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff’), and against the Defendants Identified
in Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting
Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and
interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

 

 

 

 

 

Defendant Name Line No.
bonwaystar Globle 3c Store 12
Mobymax Store 54
OVSNOVO 3C Accessories Store 58

 

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
Case: 1:19-cv-01343 Document #: 49 Filed: 06/07/19 Page 2 of 2 PagelD #:2219

Dated this 7th day of June 2019.

Respectfully submitted,

 

 

Justin R. Gaudio

Allyson M. Martin

Greer, Burns & Crain, Ltd.

300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606

312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law

jgaudio@gbc.law

amartin@gbc.law

Counsel for Plaintiff PopSockets LLC

Subscribed and sworn to me by Allyson M. Martin, on this 7th day of June 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal
Notary Public - Stale of Ilinois
My Commission Expires Nov 20, 2021

   
 

 
 

LS.
hike ——__—_
Notary Public

State of Illinois
County of Cook
